








 				











COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 

NO. 2-05-422-CV





DANA WEBB AND 							 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPELLANTS

ALL OCCUPANTS						 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;			

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

V.



JOE ALLICAT CHILDREN TRUST 			 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPELLEE



----------



FROM THE COUNTY COURT AT LAW NO. 1 OF TARRANT COUNTY



----------



MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

------------

On November 30, 2005 and December 30, 2005, we notified appellants, in accordance with rule of appellate procedure 42.3(c), that we would dismiss this appeal unless the $125 filing fee was paid. &nbsp;
See
 
Tex. R. App. P.
 42.3(c). &nbsp;Appellants have not paid the $125 filing fee. &nbsp;
See
 
Tex. R. App. P.
 5, 12.1(b).

Because appellants have failed to comply with a requirement of the rules of appellate procedure and the Texas Supreme Court’s order of July 21, 1998,
(footnote: 2) we dismiss the appeal. &nbsp;
See
 
Tex. R. App. P.
 42.3(c), 43.2(f).

Appellants shall pay all costs of this appeal, for which let execution issue. &nbsp;
See
 
Tex. R. App. P.
 43.4.

PER CURIAM

PANEL D: GARDNER, WALKER, and MCCOY, JJ.

DELIVERED: February 2, 2006



FOOTNOTES
1:See 
Tex. R. App. P. 47.4.


2:July 21, 1998 “Order Regarding Fees Charged In Civil Cases In The Supreme Court And The Courts of Appeals,” 971-972 S.W.2d (Tex. Cases) XXXVIII (1998).




